     Case 2:15-cr-00446-ODW Document 253 Filed 11/09/20 Page 1 of 9 Page ID #:1244




 1                                                                                          O
 2
 3
 4
 5
 6
 7
 8
                           United States District Court
 9
                           Central D istrict of California
10
          UNITED STATES OF AMERICA                  Case № 2:15-CR-00446-ODW-2
11
                           Plaintiff,               ORDER DENYING DEFENDANT’S
12                                                  MOTION PURSUANT TO 18 U.S.C. §
                     vs.                            3582(c) FOR COMPASSIONATE
13
14
                                                    RELEASE FROM CUSTODY [DE‐235]
          ERNIE PAUL HERNANDEZ
15
          ,
16
                       Defendant.
17
        _______________________________
18
19
                                    I.     INTRODUCTION
              Defendant sold a confidential informant (“CI”) two 9mm semi‐automatic
        pistols, two 12‐gauge shotguns, and more than 100 rounds of ammunition.
        (Presentence Report (“PSR”), DE 160, ¶¶ 20, 22.) He also sold a CI two bottles filled
        with a half‐gallon of phencyclidine (“PCP”) (Id. at ¶ 18.), and heroin in exchange for
        $4,300(Id. at ¶ 24). The government and the U.S. Probation Office calculated the
        guidelines range at 120 to 135 months based on an offense level of 29 and criminal
        history category III. Both Probation and the government recommended a sentence
Case 2:15-cr-00446-ODW Document 253 Filed 11/09/20 Page 2 of 9 Page ID #:1245




 1   at the mandatory minimum of 120 months. After defendant’s guilty plea, this Court
 2   sentenced him to 120 months’ incarceration on two counts to be served
 3   concurrently. This sentence was to account for the dangerousness of defendant’s
 4   conduct, his physical and mental health challenges, as well as substance abuse
 5
     difficulties, that he had faced in his life. (Gov’t Sentencing Position, [DE 169], at p. 2‐
 6
     3.)
 7
 8
           Here, Hernandez files a motion for compassionate‐release, requesting that the
 9
10   unserved balance of his sentence be forgiven and he be released. A drastic remedy.
11   A district court generally “may not modify a term of imprisonment once it has been
12   imposed.” 18 U.S.C. § 3582(c); see Dillon v. United States, 560 U.S. 817, 824–25
13   (2010). Compassionate release is one of the few exceptions to this rule, allowing a
14
     court to “reduce the term of imprisonment (and . . . impose a term of probation or
15
     supervised release with or without conditions that does not exceed the unserved
16
     portion of the original term of imprisonment)[.]” 18 U.S.C. § 3582(c)(1).
17
                                      II.     APPLICABLE LAW
18
19         Because this relief is both drastic and permanent, it is subject to strict
20   statutory conditions.    First, a district court can evaluate a defendant’s request for
21   compassionate release only “after the defendant has fully exhausted all
22   administrative rights” before the Bureau of Prisons (“BOP”). Specifically: after the
23
     defendant has fully exhausted all administrative rights to appeal a failure of the BOP
24
     to bring a motion on the defendant’s behalf or the lapse of 30 days from the receipt
25
     of such a request by the warden of the defendant’s facility, whichever is earlier[.] 18
26
27
     U.S.C. § 3582(c)(1)(A). This requirement is mandatory. Raia, 954 F.3d at 597; Alam, ‐

28   ‐‐ F.3d at ‐‐‐, 2020 WL 2845694, at *3. From the standpoint of the district court it is




                                                  2
Case 2:15-cr-00446-ODW Document 253 Filed 11/09/20 Page 3 of 9 Page ID #:1246




 1   jurisdictional. See generally Shaw v. Bank of America Corp., 946 F.3d 533, 541 (9th
 2   Cir. 2019) (“statutorily‐provided exhaustion requirements deprive the court of
 3   jurisdiction”); United States v. Weidenhamer, No. CR 16‐1072‐1‐PHXROS, 2019 WL
 4   6050264, at *2 (D. Az. Nov. 8, 2019) (citing cases). Second, in evaluating
 5
     compassionate‐release requests, courts must follow both the statute and relevant,
 6
     binding policy statements. See id.; 28 U.S.C. § 994(t); USSG § 1B1.13. Pursuant to
 7
     those authorities, to be eligible for compassionate release, a defendant must
 8
     demonstrate: (1) the existence of extraordinary and compelling reasons, within the
 9
10   meaning of the statute; and (2) that he is not a danger to the community. 18 U.S.C. §
11   3582(c)(1)(A). Specifically, the statute requires that any reduction be “consistent
12   with applicable policy statements issued by the Sentencing Commission”‐‐in
13   this case, USSG § 1B1.13. Id. As the Supreme Court recognized in Dillon, 560 U.S. at
14
     827, because § 3582(c) permits a sentencing reduction only where it is “consistent
15
     with applicable policy statements issued by the Sentencing Commission,” such policy
16
     statements are binding on a court determining eligibility. USSG § 1B1.13 explicitly
17
     defines the “extraordinary and compelling reasons” that make a defendant eligible
18
19   for compassionate release. See 28 U.S.C. § 994(t). They include, as relevant here, (1)
20   a “terminal illness”; (2) a serious medical condition “that substantially diminishes the
21   ability of the defendant to provide self‐care within the environment of a correctional
22   facility and from which he or she is not expected to recover”; or (3) a defendant who
23
     is at least 65 years old, is experiencing a serious deterioration in physical or mental
24
     health because of the aging process, and “has served at least 10 years or 75 percent
25
     of his or her term of imprisonment, whichever is less.” USSG § 1B1.13 (other
26
27
     grounds omitted). USSG § 1B1.13, comment. (n.1(A)‐(B). Defendant bears the

28   burden to prove both that he has “exhausted all administrative rights” and that




                                                3
Case 2:15-cr-00446-ODW Document 253 Filed 11/09/20 Page 4 of 9 Page ID #:1247




 1   “extraordinary and compelling reasons” exist to support his motion. 18 U.S.C. §
 2   3582(c)(1)(A); see United States v. Greenhut, No. 18‐CR‐48‐CAS, 2020 WL 509385, at
 3   *1 (C.D. Cal. Jan. 31, 2020) (defendant bears the burden of establishing entitlement
 4   to sentencing reduction); United States v. Hamilton, 715 F.3d 328, 337 (11th Cir.
 5
     2013) (“defendant, as the § 3582(c)(2) movant, bears the burden of establishing”
 6
     eligibility); see generally United States v. Butler, 970 F.2d 1017, 1026 (2d Cir. 1992)
 7
     (“A party with an affirmative goal and presumptive access to proof on a given issue
 8
     normally has the burden of proof as to that issue.”) Third, even for defendants who
 9
10   are statutorily eligible, compassionate release is a “rare” and “extraordinary”
11   remedy, within district courts’ discretion to deny. United States v. Chambliss, 948
12   F.3d 691, 693‐94 (5th Cir. 2020); United States v. Mangarella, No. 06‐CR‐151, 2020
13   WL 1291835, at *2–*3 (W.D.N.C. Mar. 16, 2020). Specifically, “it is a rare case in
14
     which health conditions present an ‘exceptional reason’” to allow for release where
15
     detention would otherwise be warranted. See United States v. Willis, 382 F. Supp. 3d
16
     1185, 1188 (D.N.M. 2019) (“most courts treat compassionate release ‘due to medical
17
     conditions [a]s .    .   . a rare event.”).     This reluctance to expansively apply
18
19   compassionate release is grounded in a concern that any less narrow application
20   would yield significant sentencing disparities. United States v. Ebbers, ‐‐‐ F. Supp. 3d.
21   ‐‐‐, 2020 WL 91399, at *6 (S.D.N.Y. Jan. 8, 2020).
22                                   III. DISCUSSION
23
           Even considering his non‐life threatening medical condition, Defendant is not
24
     eligible for compassionate release because he also remains a danger to the
25
     community. Moreover, under the 18 U.S.C. § 3553(a) factors, the COVID‐19 crisis
26
27
     does not justify a permanent, irrevocable reduction in his sentence.

28




                                                 4
Case 2:15-cr-00446-ODW Document 253 Filed 11/09/20 Page 5 of 9 Page ID #:1248




 1         A. The Fact That COVID‐19 Has Infected The Entire Globe is Not an
 2            “Extraordinary and Compelling” Reason Which Warrants Release
 3         Defendant has not demonstrated an eligibility for compassionate release. As
 4   the Third Circuit recently held, “[w]e do not mean to minimize the risks that COVID‐
 5
     19 poses in the federal prison system,” but the “mere existence of COVID‐19 in
 6
     society and the possibility that it may spread to a particular prison cannot
 7
     independently justify compassionate release”‐‐particularly given “BOP’s statutory
 8
     role, and its extensive and professional efforts to curtail the virus’s spread.” Raia,
 9
10   954 F.3d at 597. Here, notwithstanding defendant’s health condition, his continuing
11   danger to the community makes him ineligible for compassionate release.
12               1. Defendant’s Health Condition Does Not Qualify as “Serious.”
13         Defendant apparently has conditions which have been identified by the CDC as
14
     high‐risk factors for COVID19, however, they do not meet the definition of a “serious
15
     medical condition” per USSG § 1B1.13. They do not constitute a serious medical
16
     condition in that they do not “substantially diminish[es] the ability of the defendant
17
     to provide self‐care within the environment of a correctional facility and from which
18
19   he or she is not expected to recover”. Defendant’s condition does not meet the
20   criteria for compassionate release. “The First Step Act did not revise the substantive
21   criteria for compassionate release”‐‐criteria that is set forth in the Sentencing
22   Commission’s binding “policy statement,” USSG 1B1.13. Ebbers, 2020 WL 91399, at
23
     *4—*5; 18 U.S.C. § 3582(c)(1)(A). As courts have recognized, Congress intended that
24
     the “Sentencing Commission, not the judiciary, determine what constitutes an
25
     appropriate use of the ‘compassionate release’ provision.”          United States v.
26
27
     Willingham, No. CR113‐010, 2019 WL 6733028, at *2 (S.D. Ga. Dec. 10, 2019) (noting

28   split in authority). The Sentencing Commission’s policy statement‐‐USSG § 1B.1.13‐‐




                                               5
Case 2:15-cr-00446-ODW Document 253 Filed 11/09/20 Page 6 of 9 Page ID #:1249




 1   is thus binding on this Court. See Dillon, 560 U.S. at 827; see, e.g., United States v.
 2   Nasirun, No. 8:99‐CR‐367, 2020 WL 686030, at *2 (M.D. Fla. Feb. 11, 2020). Thus, as
 3   noted above, a defendant seeking compassionate release must establish that his
 4   condition falls within one of the categories listed in the policy statement. Those
 5
     categories include, as relevant here, (i) any terminal illness, and (ii) any “serious
 6
     physical or medical condition . . . that substantially diminishes the ability of the
 7
     defendant to provide self‐care within the environment of a correctional facility and
 8
     from which he or she is not expected to recover.” USSG § 1B1.13, comment.
 9
10   (n.1(A)). The general threat of COVID‐19‐‐which poses a threat to every non‐immune
11   person in the country‐‐does not satisfy these conditions. “[T]he mere existence of
12   COVID‐19 in society and the possibility that it may spread to a particular prison alone
13   cannot independently justify compassionate release.” Raia, 954 F.3d at 597; see also
14
     Eberhart, 2020 WL 1450745 at *2 (“a reduction of sentence due solely to concerns
15
     about the spread of COVID‐19 is not consistent with the applicable policy statement
16
     of the Sentencing Commission as required by § 3582(c)(1)(A).”). To classify COVID‐19
17
     as an extraordinary and compelling reason, by itself, would be inconsistent with the
18
19   text of the statute and the policy statement. Moreover, it would have detrimental
20   real‐world effects: interfering with BOP’s organized anti‐COVID‐19 efforts, resulting
21   in the inequitable treatment of inmates, and undercutting the strict criteria BOP
22   employs to determine inmates’ eligibility for sentence reductions and home
23
     confinement. Section 3582(c)(1)(A) contemplates sentence reductions for specific
24
     individuals, not the widespread prophylactic release of inmates and the modification
25
     of lawfully imposed sentences to deal with a viral pandemic. However, defendant’s
26
27
     serious, chronic health condition is potentially qualifying under the policy statement

28   in light of the risk of infection of COVID‐19. Namely, he suffers from obesity, which is




                                                6
Case 2:15-cr-00446-ODW Document 253 Filed 11/09/20 Page 7 of 9 Page ID #:1250




 1   a chronic medical condition identified by the Centers for Disease Control as a high‐
 2   risk factor for COVID‐19 complication. See generally Centers for Disease Control,
 3   Coronavirus Disease 2019 (COVID‐19)‐‐People Who Are At Higher Risk, available at
 4   https://www.cdc.gov/coronavirus/2019‐ncov/need‐extraprecautions/people‐at‐
 5
     higher‐risk.html (last accessed June 24, 2020). However, obesity is not a condition
 6
     “from which defendant is not expected to recover.
 7
            Additionally, defendant’s medical records show that he suffers from epilepsy
 8
     and he has a documented history of mental health issues. (See PSR ¶¶ 8187.) These
 9
10   conditions are not listed on the CDC’s website as conditions that pose a likelihood of
11   a more serious case of COVID‐19, but they likely are a detriment to defendant’s
12   overall health. Defendant’s medical condition(s) alone, however, are not enough to
13   warrant his release from prison.
14
                 2. Defendant’s Poses a Continuing Danger to The Community Which
15
           Makes Him Ineligible For Compassionate Release
16
           Serious illness is not the only requirement for compassionate release eligibility;
17
     a defendant must also demonstrate that he is “not a danger to the safety of any
18
19   other person or to the community.” USSG § 1B1.13(2). Defendant cannot make that
20   showing, and thus he is ineligible for a reduced sentence.      Specifically, this Court
21   may not reduce a defendant’s sentence unless it finds that “the defendant is not a
22   danger to the safety of any other person or to the community, as provided in 18
23
     U.S.C. § 3142(g).” USSG § 1B1.13; see United States v. Gotti, No. 02‐CR743, 2020 WL
24
     497987, at *6 (S.D.N.Y. 2020) (release was inappropriate regardless of extraordinary
25
     and compelling circumstances; defendant posed a continuing danger to the public);
26
27
     accord United States v. Urso, No. 03‐CR‐1382, 2019 WL 5423431, at *3 (E.D.N.Y. Oct.

28   23, 2019); United States v. Applewhite, No. 08‐CR‐60037, 2020 WL 137452, at *2 (D.




                                                7
Case 2:15-cr-00446-ODW Document 253 Filed 11/09/20 Page 8 of 9 Page ID #:1251




 1   Or. Jan. 13, 2020) (denying compassionate release for seriously ill 80‐year‐old inmate
 2   based on danger). The record here supports a similar finding. Defendant poses a
 3   very real danger to the community. Defendant sold a large quantity of PCP to a CI – a
 4   drug that is highly toxic.     Then he sold four firearms and a large amount of
 5
     ammunition to a CI. The prevalence of firearms, especially those sold on the black
 6
     market, present a significant danger to the safety of others. Defendant plans to live
 7
     with his mother (mot. at 7), which appears to be where he was living when he
 8
     committed the instant offense (PSR ¶ 77). Obviously, residing with his mother has
 9
10   not proven to be an effective deterrent to his criminality. Clearly, trafficking in drugs
11   and weapons presents a grave danger to the community. United States v. Hir, 517
12   F.3d 1081, 1088 (9th Cir. 2008) (“community,” within the meaning of 18 U.S.C. §
13   3142, is not necessarily confined to local geography). All California residents are
14
     currently required to shelter in place and “heed the current State public health
15
     directives” to avoid the spread of COVID19. California Executive Order N‐33‐20
16
     (March 19, 2020), available at https://covid19.ca.gov/img/Executive‐Order‐N‐33‐
17
     20.pdf. Such rules, though enforceable by peace officers, rely largely on voluntary
18
19   compliance. A person who ignores such rules could increase infection rates, leading
20   to citizens’ severe illness and death. Defendant’s history demonstrate he has not
21   been inclined to follow the law and living with his mother provides no assurance that
22   he will carefully abide by the rules if released.
23
                                      IV. CONCLUSION
24
25
26
27
28




                                                  8
Case 2:15-cr-00446-ODW Document 253 Filed 11/09/20 Page 9 of 9 Page ID #:1252




 1         Considering all of the foregoing, the Court concludes Defendant has not
 2   established the criteria warranting compassionate release, and as a result, his
 3   request is hereby DENIED.
 4
 5         IT IS SO ORDERED.
 6
     DATED: November 9, 2020
 7
 8                                _________________________________
                                           OTIS D. WRIGHT, II
 9
                                    UNITED STATES DISTRICT JUDGE
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28




                                            9
